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         NIKON CORPORATION and NIKON INC.
    14
                                  UNITED STATES DISTRICT COURT
    15
                                CENTRAL DISTRICT OF CALIFORNIA
    16
                                             WESTERN DIVISION
    17
    18
         CARL ZEISS AG and ASML                    Case No. 2:17-cv-03221 RGK (MRWx)
    19   NETHERLANDS, B.V.,
                                                   DEFENDANTS NIKON
    20                         Plaintiffs,         CORPORATION AND NIKON
                                                   INC.’S RESPONSE TO
    21          v.                                 PLAINTIFFS’ OBJECTIONS TO
                                                   DEFENDANTS’ DEPOSITION
    22   NIKON CORPORATION, SENDAI                 DESIGNATIONS
         NIKON CORPORATION, and
    23   NIKON INC.,                               Date:        July 12, 2018
                                                   Time:        9:00 a.m.
    24                         Defendants.         Courtroom:   850, 8th Floor
    25                                             Hon. R. Gary Klausner
    26
    27
    28
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     1
                Plaintiffs want to hide from the jury evidence that is directly relevant to
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         Plaintiffs’ claim for damages. Plaintiffs paid only $5.2 million for 12 patents and 2
     3
         patent applications. Now they are asking the jury for $30 million to compensate for
     4
         alleged infringement of only 2 of them. The facts surrounding Plaintiffs’ purchase
     5
         of those patents and patent applications are highly relevant to the jury’s
     6
         determination of a reasonable royalty. Nevertheless, under the guise of Motions in
     7
         Limine, Plaintiffs object to deposition designations that are highly relevant to
     8
         reasonable royalty and damages—indisputably core issues in this trial. The Court
     9
         explicitly carved out its rulings on the motions in limine to allow testimony related
    10
         to reasonable royalty damages. The Court stated: “plaintiffs’ motions in limine,
    11
         number 2 will be granted, with the understanding that you can get into the area
    12
         as to how it pertains to royalties if that's the question as far as damages, but
    13
         other than that, it would be granted.” (Pretrial Conf. Tr. at 4:22-5:1.)
    14
                On the first day of trial, the Court also stated that all of its Motion in Limine
    15
         rulings were “tentative” and would need to be assessed on a case-by-case basis.
    16
         (7/11 Trial Tr. at 4:23.)
    17
                Below, Nikon responds to Plaintiffs’ objections specifically.1
    18
                1.     Testimony from Messrs. Pressman and Singer that no company
    19
                       has licensed the ’167 and ’792 patents. (Pressman Tr. 82:2-11.
    20                 83:13-15; Singer Tr. 570:9-20.)
    21          This topic is facially relevant to Georgia-Pacific factor 1, “Royalties for the
    22   patent-in-suit.” An example of the testimony that Plaintiffs seek to exclude is as
    23   follows:
    24                 Q.      Can ASML identify any company that has ever
    25                 paid any royalties in exchange for a license to the ’167
    26                 patent.
    27   1
          Nikon does not plan to play the follow deposition clips: Pressman Tr. 70:5-13,
    28   84:14-85:4 and Singer Tr. 526:4-6, 526:11,526:13-15, 526:20-527:1.
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     1
                          A.     ASML can’t identify any company that has paid
     2
                          royalties to the ’167 patent for a license.
     3
           (Pressman Tr. 82:2-11.) Given this testimony is squarely relevant to Georgia
     4
           Pacific Factor 1, it should not be excluded.
     5
                  2.      Testimony from Messrs. Pressman and Singer regarding
     6
                          Tarsium, the entity that bought the ’167 and ’792 patents.
     7                    (Pressman Tr. 260:4-8, 11-12.)
     8            Testimony related to Tarsium is directly related to damages and the
     9     hypothetical negotiation under Georgia Pacific factors 4, 5, and 15. Factor 4 relates
    10     to the licensor’s policies; factor 5 relates to the commercial relationship between
    11     the licensor and the licensee, such as whether they are competitors, or whether they
    12     are inventor and promoter; and factor 15 goes to the hypothetical negotiation. The
    13     fact that Tarsium is the entity that acquired the patents, and is owned by ASML, is
    14     relevant to all three factors.
    15            As this testimony is relevant, Plaintiffs have already elicited testimony
    16     regarding Tarsium, its acquisition of the patents, and subsequent sale to Plaintiffs.
    17     In his opening, Plaintiffs’ counsel, Mr. Marchese stated, “You’re also going to hear
    18     evidence that HP originally transferred the patents to a company called Tarsium and
    19     that Tarsium is a company owned by ASML, passed them along to ASML and
    20     Zeiss.” (7/11 Trial Tr. 14:22-25). Later, Dr. Singer testified about a document in
    21     which Tarsium “jointly” transferred the ’792 and ’167 patents to Plaintiffs. (7/11
    22     Trial Tr. at 72:21-73:11.)
    23            Most importantly, Dr. McDuff, Plaintiffs’ damages expert, specifically
    24     testified that Tarsium was at the hypothetical negotiation table as an owner of the
    25     ’167 and ’792 patents.
    26
    27
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     1
                          Q      You put Tarsium, ASML, and Zeiss at the
     2
                          negotiation table here. On one side you would have those
     3
                          individuals and HP and on the other side Nikon; correct?
     4
                          A      That's one scenario I considered, yes.
     5
                          Q      The hypothetical negotiation for these patent would
     6
                          be in 2008; correct?
     7
                          A      Yes.
     8
           (7/12 Trial Tr. 88:7-13.)
     9
                  Excluding this evidence would unfairly prejudice Nikon as it would not have
    10
           an opportunity to rebut testimony that Plaintiffs have already entered into evidence.
    11
    12            3.      ASML’s investigation of the patents during transaction with
                          Hewlett-Packard, the inventors and sellers of the ’167 and ’792
    13                    patents. (Pressman Tr. 68:19-69:5, 374:5-16, 349:20-350:1,
    14                    352:12-14, 352:18.)

    15            For example, Plaintiffs seek to exclude the following:
    16                    Q.     When did ASML first come to believe that any
    17                    Nikon cameras infringed the ’792 patent?
    18                    A.     as I believe I testified yesterday, ASML came to
    19                    believe that Nikon products could infringe the ’792 patent
    20                    prior to the acquisition of those patents by Tarsium.
    21     (Pressman 374:5-16.)
    22            During trial, Plaintiffs’ damages expert, Dr. McDuff, testified that the sale of
    23     the patents to Plaintiffs had nothing to do with Nikon and is not an accurate
    24     representation of what Nikon would pay. (7/12 Trial Tr. 93:4-5, 14-15 (admitting
    25     that in the HP sale contract, Nikon was designated specifically unlicensed company
    26     but stating that he did not know what Tarsium “knew or did not know.”) Nikon is
    27     entitled to rebut this testimony, as it is highly relevant to the hypothetical
    28
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     1
           negotiation because both HP, Tarsium, and Plaintiffs knew about Nikon and
     2
           specifically discussed Nikon’s unlicensed status during the negotiations of the
     3
           patent sale. This goes directly to Georgia Pacific Factor 15, which describes the
     4
           hypothetical negotiation.
     5
                  The timing of when Plaintiffs came to believe Nikon infringed is also
     6
           relevant to Plaintiffs’ five-year delay, which is relevant to marking. It is also
     7
           relevant to the value (or lack thereof) of the ’792 and ’167 patents, the nature of the
     8
           patented invention,” and the “utility and advantages of patent property,” which are
     9
           Georgia Pacific factors 9 and 10.
    10          4.    Testimony from Mr. Pressman regarding confidential and public
    11                transfers of the ’167 and ’792 patent. (Pressman Tr. 494:3-15,
                      496:17-21, 530:10-16, 532:16-22, 566:15-19.)
    12
                  The testimony Plaintiffs seek to exclude is relevant to Georgia Pacific
    13
           factors 1 and 5 (regarding the parties’ competitive relationship), and also directly
    14
           rebuts Plaintiffs’ repeated argument that Nikon was “aware” of the alleged
    15
           infringement and “knew of the patents.” To the contrary, Mr. Pressman testified
    16
           that the Plaintiffs did not publicly record Plaintiffs’ ownership of the patents-in-
    17
           suit. For example, Nikon seeks to use the following testimony:
    18
                          Q.     So, ASML and Zeiss didn’t record the assignment
    19
                          of rights to the ’792 at any time before they commenced
    20
                          litigation against Nikon on that patent?
    21
                          A.     That is what it appears from this document and
    22
                          there is obviously no obligation to do so.
    23
           (Pressman Tr. 532:16-22.)
    24
                  Nikon is also entitled to play this testimony because it rebuts Plaintiffs’
    25
           willful blindness claim. (ECF No. 33.) Plaintiffs have repeatedly stated that Nikon
    26
           knew of the patents in 2009 and 2012. In Plaintiffs’ opening, counsel stated:
    27
    28
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     1
                          The evidence will also show that Nikon has known of
     2
                          these patents for many years. They have known about the
     3
                          first of the patents since 2009 and the second patent since
     4
                          2011, and despite the knowledge, they've continued to use
     5
                          the patented inventions continuously over the course of
     6
                          ten years and even expanded their use year after year.
     7
           (Trial Tr. at 7:10-15.)
     8
                  What’s more, Plaintiffs have already elicited testimony from Messrs.
     9
           Pressman and Singer regarding the multiple transfers of the ’167 and ’792 patents,
    10
           opening the door to this rebuttal. On direct examination, Plaintiffs elicited the
    11
           following testimony:
    12
                          Q.     Dr. Singer, do you recognize this document
    13
                          A.     Yes, I recognize it.
    14
                          Q.     And what is this?
    15
                          A.     Yeah, that's the assignment of patent rights from
    16
                          company Tarsium to, jointly, ASML Netherlands and
    17
                          Carl Zeiss SMT GmbH.
    18
           (7/12 Trial Tr. 72:5-14). Plaintiffs also entered JTX115 into evidence, which is the
    19
           Assignment of Rights document.
    20
                  Excluding this evidence would unfairly prejudice Nikon as it would not have
    21
           an opportunity to rebut testimony that Plaintiffs have already entered into evidence.
    22
                                                  CONCLUSION
    23
                  In sum, Plaintiffs’ objection to the designated testimony is a ruse to exclude
    24
           damages evidence that is relevant, as a matter of black-letter law, to the appropriate
    25
           reasonable royalties. Indeed, the Court has stated multiple times that evidence
    26
           relevant to reasonable royalty damages would be admissible. Moreover, Plaintiffs
    27
           have already introduced substantial evidence on all of these topics.
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     1
                  Excluding this evidence would substantially prejudice Nikon and would
     2
           unfairly allow Plaintiffs to present trial testimony that Nikon has no opportunity to
     3
           rebut. For these reasons, Nikon respectfully requests that the Court overrule
     4
           Plaintiffs’ objections.
     5
     6
                  Dated: July 13, 2018                Respectfully submitted,
     7
                                                      JACK LONDEN
     8                                                VINCENT J. BELUSKO
                                                      MORRISON & FOERSTER LLP
     9
    10
                                                      By: /s/ Vincent J. Belusko
    11
    12                                                      Attorneys for Defendants
                                                            NIKON CORPORATION AND
    13                                                      NIKON INC.
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